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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SKYWAVE NETWORKS, LLC,

                                Plaintiff,
                                                          Case No. 1:24-cv-9650
                v.                                        Hon. John J. Tharp, Jr.

 WILLIAM J. DISOMMA, et al.,

                               Defendants.



                          DEFENDANTS’ MOTION TO DISMISS

        Defendants William J. DiSomma, Paul A. Gurinas, Matthew Hinerfeld, William

DiSomma Trust, Paul A. Gurinas Trust, Jump Financial, LLC, Jump Trading Holdings, LLC, Jump

Trading, LLC, ECW Wireless, LLC, World Class Wireless, LLC, NLN Holdings LLC, New Line

Networks LLC, 10Band LLC, and Virtu Financial, Inc., by and through undersigned counsel,

respectfully move to dismiss Plaintiff Skywave Networks, LLC’s Complaint under Rule 12(b) of

the Federal Rules of Civil Procedure for the reasons set forth in their Memorandum, which is being

filed contemporaneously herewith.




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Dated: December 16, 2024                               Respectfully submitted,

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